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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                          OWENSBORO DIVISION

CIVIL ACTION NUMBER: 4:11CV-130-M

JAMES T. FRESHOUR                                                            PLAINTIFF

vs.

PORTFOLIO RECOVERY ASSOCIATES, INC.                                      DEFENDANT

                                      ORDER

      The Court, having been advised by counsel that settlement has been
reached on all matters in this case, ORDERS that this action be, and the same
hereby is, DISMISSED WITHOUT PREJUDICE and STRICKEN from the
ACTIVE DOCKET.
      The parties shall tender an agreed order dismissing this case with
prejudice within forty-five (45) days of entry of this Order. The Court will entertain
a motion to redocket this action upon application to this Court within forty-five (45)
days from entry of this Order if the settlement is not consummated.




Copies to:   Counsel of record
                                                                  January 30, 2012
